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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

VICTOR ARIZA,
                                             Case No.: 6:23-cv-01701-RBD-RMN
       Plaintiff,

v.

RUMI ONLINE INC., d/b/a RUMI
LIFE, a foreign for-profit corporation;
RUMI LIFE, INC., d/b/a RUMI LIFE; a
foreign for-profit corporation; and OFF TO
SHOP, INC., d/b/a RUMI LIFE, a Florida
for-profit corporation,

      Defendants.
________________________________________/

         DEFENDANT RUMI ONLINE INC.’S UNOPPOSED MOTION
     FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S AMENDED
       COMPLAINT AND INCORPORATED MEMORANDUM OF LAW

       Defendant, Rumi Online Inc. (“Rumi Online”), by and through the

undersigned counsel, hereby files this unopposed motion (this “Motion”) and

respectfully requests an extension of its deadline to answer or otherwise respond

to Plaintiff’s Amended Complaint [Doc. 19] (the “Amended Complaint), up to and

including, December 18, 2023, and states the following in support:

       Plaintiff filed his original Complaint on September 5, 2023 [Doc 1] (the

“Initial Complaint”). In response, Defendant Rumi Online filed its Motion to

Dismiss Plaintiff’s Initial Complaint on October 24, 2023 [Doc 18].
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      On November 13, 2023, Plaintiff filed his Amended Complaint, which joined

two other defendants, Rumi Life, Inc. and Off to Shop, Inc., to this action [Doc 19].

As a result of Plaintiff’s filing of the Amended Complaint, Defendant Rumi

Online’s Motion to Dismiss the Initial Complaint was denied as moot [Doc 22].

Accordingly, the deadline for Defendant Rumi Online to respond to the Amended

Complaint is currently November 27, 2023.

      Defendant Rumi Online is seeking additional time to respond to the

Amended Complaint to continue analyzing the issues presented in Plaintiff’s

Amended Complaint, and to discuss these issues further with the additional two

defendants who have not yet made an appearance in this action and determine the

possibility of a joint response or early resolution of the Amended Complaint.

      Counsel for Defendant Rumi Online has conferred with Plaintiff’s counsel

regarding the extension of time sought herein, and Plaintiff has no objection to an

extension of Defendant Rumi Online’s deadline to respond to the Amended

Complaint, up to and including December 18, 2023.

      For these reasons, Defendant Rumi Online, Inc. respectfully requests an

extension of its deadline to respond to Plaintiff’s Complaint, up to and including

December 18, 2023, to allow for review of the Amended Complaint by Defendant

Rumi Online in coordination with the two other recently joined defendants, Rumi

Life, Inc. and Off To Shop, Inc., who have yet to make an appearance in this action.

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      The Court may grant an enlargement of time for good cause shown when

the request is made before the original time expires.          Fed. R. Civ. P. 6(b).

Defendant’s request for an extension is made in good faith and does not prejudice

Plaintiff, who is unopposed to the extension of time sought by Defendant herein.

An extension of Defendant Rumi Online’s deadline to respond to Plaintiff’s

Amended Complaint will enable Defendant Rumi Online to complete its review

of the issues raised in the Amended Complaint, discuss the allegations therein

with the other two defendants joined by Plaintiff upon their appearance in this

action, and determine the possibility of a joint response or early resolution of

Plaintiff’s claims in the Amended Complaint, which may conserve the resources

of the Parties and the Court.

      Based on the foregoing, Defendant Rumi Online respectfully requests that

the Court grant this Motion and extend the deadline for Defendant Rumi Online

to respond to the Amended Complaint, up to and including December 18, 2023.

                         Local Rule 3.01(G) Certification

      The undersigned counsel for Defendant Rumi Online hereby certifies that

she has conferred with Plaintiff’s counsel regarding the contents of this motion

and that Plaintiff does not oppose the relief sought herein.

      Dated this 20th day of November, 2023.


                                      Respectfully submitted,
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                                           Attorneys for Defendants

                         CERTIFICATE OF SERVICE
      I hereby certify that on this 20th day of November 2023, the foregoing was

electronically filed through the CM/ECF system, which will send a notice of

electronic filing to Plaintiff’s counsel, Roderick V. Hannah, Roderick V. Hannah,

Esq., P.A. via email at rhannah@rhannahlaw.com.


                                           /s/ Alyssa Castelli
                                           Attorney




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